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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA,
SEALED eup
ORDER
-against-
S718 CR. 693 (RMB)
JOACHIM ALEXANDER VON DER GOLTZ,
Defendant.

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WHEREAS, with the Defendant’s consent, his guilty plea allocution was taken before a
United States Magistrate Judge on December 6, 2019;

WHEREAS, a transcript of the allocution was made and thereafter was transmitted to the
District Court; and

WHEREAS, upon review of the transcript, this Court has determined that the Defendant
entered the guilty plea knowingly and voluntarily and that there was a sufficient factual basis for
the guilty plea;

IT IS HEREBY ORDERED that Joachim Alexander von der Goltz’s guilty plea is
accepted;

IT IS HEREBY FURTHER ORDERED that the parties shall appear for a conference

before the Court on December 17, 2019 at 10:30 am.

Dated: New York, New York
December 10, 2019 i> MM (S |

RICHARD M. BERMAN, U.S.D.J.

 

 
